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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
                                      1
 Lordstown Motors Corp, et al.,
                                                          Case No. 23-10831 (MFW)
                           Debtors.
                                                          (Jointly Administered)

                                                          Re: Docket No. 880



     CERTIFICATE OF NO OBJECTION REGARDING SECOND MONTHLY
APPLICATION OF JEFFERIES LLC FOR ALLOWANCE OF COMPENSATION FOR
  SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED AS
INVESTMENT BANKER FOR THE DEBTORS AND DEBTORS IN POSSESSION FOR
 THE PERIOD FROM OCTOBER 1, 2023 TO AND INCLUDING OCTOBER 31, 2023

          The undersigned hereby certifies that, as of the date hereof, they have received no answer,

objection, or other responsive pleading with respect to the second monthly fee application for

compensation and reimbursement of expenses (the “Monthly Application”) of Jefferies LLC (the

“Applicant”) listed on Exhibit A attached hereto. The Monthly Application was filed with the

United States Bankruptcy Court for the District of Delaware (the “Court”) on January 2, 2024.

The Debtors and Jefferies received informal inquiries from counsel to the Official Committee of

Unsecured Creditors, which were satisfactorily answered. The undersigned further certifies that

they have reviewed the Court’s docket in this case and no answer, objection or other responsive

pleading to the Monthly Application appears thereon. Pursuant to the Notice of Fee Application

filed with the Monthly Application, objections to the Monthly Application were to be filed and

served no later than January 22, 2024 at 4:00 p.m. (ET). The Monthly Application was filed and

served in accordance with the Order Establishing Procedures for Interim Compensation and


          1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Reimbursement of Expenses for Chapter 11 Professionals and Committee Members, entered July

25, 2023 [D.I. 181] (the “Interim Compensation Order”).

       Consequently, pursuant to the Interim Compensation Order, the debtors and debtors in

possession in the above-captioned cases are authorized to pay Applicant eighty percent (80%) of

the unpaid fees and one hundred percent (100%) of the expenses requested in the Monthly

Application upon the filing of this certification without the need for a further order of the Court.

A summary of the fees and expenses sought by Applicant is annexed hereto as Exhibit A.

Dated: January 24, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Morgan L. Patterson
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                              Counsel to Debtors and
                              Debtors in Possession




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                                                          EXHIBIT A

                                                  Professional Fees and Expenses
                                                     Monthly Fee Application

   Applicant         Fee Application      Total Fees     Total Expenses    Objection     Amount of Fees       Amount of
                      Period, Filing      Requested        Requested       Deadline:     Authorized to be      Expenses
                        Date, D.I.                                                        Paid @ 80%        Authorized to be
                                                                                                             Paid at 100%
 Jefferies LLC      10/1/23 – 10/31/23   $2,200,000.00      $8,856.07        1/22/24       $1,600,000.00       $8,856.07
                         D.I. 880




WBD (US) 4867-4992-7583v1
